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                    UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER,             )
     et al.,                           )
                                       )
      Plaintiffs,                      )
                                       )
v.                                     ) No. 2:22-cv-00184-LCB-SRW
                                       )
KAY IVEY, in her official capacity     )
as Governor of the State of Alabama,   )
     et al.,                           )
                                       )
      Defendants.                      )

       DEFENDANTS’ RESPONSE IN PARTIAL OPPOSITION TO
         PLAINTIFFS’ MOTION FOR LEAVE TO PROCEED
                 PSEUDONYMOUSLY (DOC. 6)
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                                         RESPONSE

       Three sub-groups of Plaintiffs—children, their parents, and healthcare provid-

ers—seek leave to proceed pseudonymously. See DE6.1, 2 The State Defendants op-

pose Plaintiffs’ request as it applies only to the healthcare-provider plaintiffs (“Pro-

vider Plaintiffs”), because Provider Plaintiffs have failed to overcome the well-es-

tablished presumption that “parties to a lawsuit must identify themselves in their

respective pleadings.” Southern Methodist Univ. Ass’n of Women Law Students v.

Wynne & Jaffe, (“SMU”) 599 F.2d 707, 712 (5th Cir. 1979).3 Indeed, Provider Plain-

tiffs offer no evidence whatsoever to prove that this is an “exceptional case” justify-

ing pseudonymity. Doe v. Frank, 951 F.2d 320, 323 (11th Cir. 1992). The mere de-

sire not to be publicly associated with one’s own actions cannot override the “clear

and strong First Amendment interest in ensuring that ‘[w]hat transpires in the court-

room is public property.’” Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. Aug. 1981)

(quoting Craig v. Harney, 331 U.S. 367, 374 (1947)). This Court should deny Pro-

vider Plaintiffs’ request to proceed pseudonymously.


1
 “DE” refers to docket entries in this case. The numbers following “DE” refer to the precise docket
entry, and numbers following a colon provide pin cites corresponding to ECF pagination.
2
  In Plaintiffs’ Motion for Leave to Proceed Pseudonymously (the “Motion”), the children are
identified as Michael Boe, Zachary Zoe, Allison Poe, and Christopher Noe; the children’s parents
are identified as Brianna Boe, James Zoe, Megan Poe, and Kathy Noe; and the healthcare providers
are identified as Dr. Jane Moe and Dr. Rachel Koe. Id.
3
 Decisions of the Fifth Circuit handed down prior to October 1, 1981 are binding in the Eleventh
Circuit. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).


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       The State Defendants do not, however, oppose the children (“Children Plain-

tiffs”) or their parents (“Parent Plaintiffs”) proceeding pseudonymously, provided

that these Plaintiffs provide identifying information to Defendants subject to a pro-

tective order in the event their identities become relevant to this litigation.

                                    ARGUMENT

 I.    Provider Plaintiffs Have Failed To                 Show     That    Exceptional
       Circumstances Justify Their Request.

          A. Proceeding Pseudonymously Is an Accommodation Granted Only
             in Exceptional Cases.

       “It is the exceptional case in which a plaintiff may proceed under a fictitious

name.” Frank, 951 F.2d at 323. Plaintiffs should, therefore, “be permitted to proceed

anonymously only in those exceptional cases involving matters of a highly sensitive

and personal nature, real danger of physical harm, or where the injury litigated

against would be incurred as a result of the disclosure of the plaintiff’s identity.” Id.

This presumption against pseudonymity makes good sense; at the most fundamental

level, “[l]awsuits are public events.” Id. at 324.

       Thus, the Federal Rules of Civil Procedure require a plaintiff to “name all the

parties” in his or her complaint. FED. R. CIV. P. 10(a). “Public access to this infor-

mation is more than a customary procedural formality; First Amendment guarantees

are implicated when a court decides to restrict public scrutiny of judicial proceed-

ings.” Stegall, 653 F.2d at 185 (footnote omitted) (citing Richmond Newspapers, Inc.



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v. Virginia, 448 U.S. 555 (1980)). Nor is the practice of using actual names rather

than fake ones anchored in mere “administrative convenience.” Frank, 951 F.2d at

322. To the contrary, the Eleventh Circuit has made clear that this general rule “pro-

tects the public’s legitimate interest in knowing all of the facts involved, including

the identities of the parties.” Id. Simply put, “there remains a clear and strong First

Amendment interest in ensuring that ‘[w]hat transpires in the courtroom is public

property.’” Stegall, 653 F.2d at 185 (quoting Craig, 331 U.S. at 374).

       Though this “procedural custom” is “fraught with constitutional overtones,” a

narrow exception exists. Id. In “exceptional cases,” the Eleventh Circuit has recog-

nized “a substantial privacy right which outweighs the customary and constitution-

ally-embedded presumption of openness in judicial proceedings.” Frank, 951 F.2d

at 323 (cleaned up). 4 To determine “whether privacy trumps publicity,” the Eleventh

Circuit asks whether the anonymity-seeking plaintiff “(1) is challenging government


4
  The general rule restricting pseudonymity only to exceptional circumstances appears to be nearly
universal. See, e.g., Doe v. Megless, 654 F.3d 404, 408 (3d Cir. 2011) (“While not expressly per-
mitted under Federal Rule of Civil Procedure 10(a), in exceptional cases courts have allowed a
party to proceed anonymously.”) (citation omitted); Doe v. Public Citizen, 749 F.3d 246, 273 (4th
Cir. 2014) (“This Court has recognized that in exceptional circumstances, compelling concerns
relating to personal privacy or confidentiality may warrant some degree of anonymity in judicial
proceedings, including use of a pseudonym.”) (citation omitted); Doe v. Blue Cross & Blue Shield
United of Wisc., 112 F.3d 869, 872 (7th Cir. 1997) (“The use of fictitious names is disfavored, and
the judge has an independent duty to determine whether exceptional circumstances justify such a
departure from the normal method of proceeding in federal courts.”); Femedeer v. Haun, 227 F.3d
1244, 1246 (10th Cir. 2000) (explaining that “[p]roceeding under a pseudonym in federal court is,
by all accounts, an unusual procedure” that “does not appear” to have any support in “any specific
statute or rule” and should only be allowed in “exceptional circumstances”) (internal quotation
marks and citations omitted).



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activity; (2) would be compelled, absent anonymity, to disclose information of ut-

most intimacy; or (3) would be compelled, absent anonymity, to admit an intent to

engage in illegal conduct and thus risk criminal prosecution.” In re Chiquita Brands

Int’l Inc., 965 F.3d 1238, 1247 (11th Cir. 2020) (citing SMU, 599 F.2d 707). These

three factors do not comprise a rigid test, “[n]or [i]s the presence of one factor meant

to be dispositive.” Frank, 951 F.2d at 323. Rather, courts should “carefully review

all the circumstances of a given case and then decide whether the customary practice

of disclosing the plaintiff’s identity should yield to the plaintiff’s privacy concerns.”

Frank, 951 F.2d at 323 (citing SMU, 599 F.2d at 713).5

       Cases from this Circuit and others make clear that supportive evidence is usu-

ally required to support a plaintiff’s pseudonymity request. In Stegall, for example,

the Eleventh Circuit held that “[e]vidence on the record indicat[ing] that the Does

may expect extensive harassment and perhaps even violent reprisals if their identities

are disclosed” “tip[ped] the balance against the customary practice of judicial open-

ness.” 631 F.3d at 186 (emphasis added); see also Doe v. Neverson, 820 Fed. Appx.

984, 988 (11th Cir. 2020) (finding that the district court “may have too easily dis-

counted” plaintiff’s submission “of a website post about this lawsuit and eight



5
  Some additional circumstances include: “whether the plaintiffs were minors, whether they were
threatened with violence or physical harm by proceeding in their own names, and whether their
anonymity posed a unique threat of fundamental unfairness to the defendant.” Plaintiff B v. Fran-
cis, 631 F.3d 1310, 1316 (11th Cir. 2011) (citations omitted).



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threatening or harassing comments”—“evidence [that] seems similar to the news

report we relied on in Stegall”).

         And in Doe v. Sheely, the Eleventh Circuit held that a district court properly

rejected a plaintiff’s request to proceed pseudonymously when she failed to offer

evidence to support the request. 781 Fed. Appx. 972, 974 (11th Cir. 2019) (“If the

plaintiff has evidence to show that proceeding in her own name will cause her special

harm, subject her to bodily injury, or implicate other factors that would make hers

an exceptional case deserving of anonymity, then she may file a more fulsome sec-

ond motion to proceed anonymously.”).6 In this same vein, the Eleventh Circuit has

made clear that plaintiffs’ “generalized, subjective assertions of fear” will not con-

stitute evidence sufficient to justify “treat[ing] them differently than other plaintiffs”

because such assertions are “simply not the kind of risk of physical or other injury

required.” In re Chiquita Brands, 965 F.3d at 1251 (internal quotation marks omit-

ted).



6
  See also, e.g., Doe v. Mckesson, 945 F.3d 818, 835 n.12 (5th Cir. 2019), vacated on other grounds
141 S. Ct. 48 (2020) (affirming the district court’s denial of Doe’s motion to proceed anonymously
because “Officer Doe conceded that he had received no particularized threats of violence since
filing his lawsuit” and thus had not demonstrated a privacy interest sufficient to overcome the
presumption against anonymity (citing Stegall, 653 F.2d at 186)); Raiser v. Brigham Young Univ.,
127 Fed. Appx. 409, 411 (10th Cir. 2005) (denying pseudonymity request where plaintiff “did not
present any particularized evidence” and “stated only that harmful and prejudicial information
might be made public and might harm his reputation” ); see also Air Force Officer v. Austin, No.
5:22-cv-00009-TES, 2022 WL 468030, at *2-3 (M.D. Ga. 2022) (finding that the plaintiff’s evi-
dence, the “culmination” of which “show[ed] that there has already been an influx—albeit small—
of commentary directed specifically at her case,” was “sufficient to warrant anonymity”).



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      In sum, while a “totality-of-the-circumstances question” inevitably entails

broad analysis, In re Chiquita Brands, 965 F.3d at 1247 n.5, the “constitutionally-

embedded presumption of openness” places a heavy burden on pseudonymity-seek-

ing plaintiffs, Frank, 951 F.2d at 323. And courts expect plaintiffs to offer particu-

larized evidence to meet that burden. See, e.g., Stegall, 631 F.3d at 186. It is therefore

no surprise that “in only a very few cases challenging governmental activity can

anonymity be justified.” Stegall, 653 F.2d at 186. By failing to provide any support-

ive evidence whatsoever, Provider Plaintiffs have failed to show that this is one of

those “very few cases.”

          B. Provider Plaintiffs Have Not Proven That This Is an Exceptional
             Case.

      Provider Plaintiffs submitted no evidence in support of their Motion. Instead,

Dr. Moe and Dr. Koe both included one conclusory footnote in declarations they

filed to support their “Motion for a Temporary Restraining Order And/Or Prelimi-

nary Injunction” (DE7): “Because of concerns about criminal liability and my pri-

vacy and safety, I am seeking to proceed in this case under a pseudonym.” DE8-9:2

n.1; DE8-10:2 n.1. But Provider Plaintiffs never bothered to explain the bases for

their purported “concerns,” let alone provide actual evidence sufficient to “overcome

the presumption of openness in court proceedings,” Frank, 951 F.2d at 324; see also

Stegall, 653 F.2d at 185. That alone is enough to deny Provider Plaintiffs’ request.




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       What’s more, none of the three SMU pseudonymity factors that Plaintiffs rely

on favor their request.7 First, though Plaintiffs “challeng[e] government activity,” In

re Chiquita Brands, 965 F.3d at 1247, that does not make Plaintiffs’ position, as they

claim, “particularly strong,” DE6:5. To the contrary, the Eleventh Circuit has ex-

plained that this factor “does not stand … for the proposition that there is more rea-

son to grant a plaintiff’s request for anonymity if the plaintiff is suing the govern-

ment.” Frank, 951 F.2d at 324. Rather, there is “more reason not to grant the plain-

tiff’s request for anonymity” when he is suing a private individual. Id. (emphasis in

original). “Consequently, the fact that [Provider Plaintiffs] [are] suing the [State]

does not weigh in favor of granting [their] request for anonymity.” Id.

       Second, Provider Plaintiffs are plainly not required to “disclose information

of the utmost intimacy.” In re Chiquita Brands, 965 F.3d at 1247. A child’s

transgender identification might constitute “information of the utmost intimacy” and

thus may support Children and (derivatively) Parent Plaintiffs’ requests to proceed

pseudonymously. Id. Provider Plaintiffs, however, can muster only that they desire

pseudonymity “[f]or similar reasons.” DE6:3. But Provider Plaintiffs “are not

transgender,” id. at 9, and they have not shown that they risk suffering any “social

stigma” warranting pseudonymity, Frank, 951 F.2d at 324 (citations omitted).



7
  Provider Plaintiffs have not argued that any circumstance outside the three SMU factors supports
their request. See DE6:4-10.


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      While Children and Parent Plaintiffs request pseudonyms to, among other

things, protect the Children Plaintiffs from “ridicule, discrimination and harass-

ment,” Provider Plaintiffs’ assertion that they should be able to proceed with fake

names “[f]or similar reasons” is baseless. Id. at 2-3. And while using a parent’s name

could reveal the child’s identity, that logic does not apply to doctors and their pa-

tients—nor have Provider Plaintiffs made any attempt to explain why it would. And

to the extent the Provider Plaintiffs are simply bashful about their involvement in

this case, “some personal embarrassment, standing alone, does not require the grant-

ing of [their] request to proceed under a pseudonym.” Frank, 951 F.2d at 324.

      Third, proceeding under their real names will not “compel[]” Provider Plain-

tiffs “to admit an intent to engage in illegal conduct and thus risk criminal prosecu-

tion.” In re Chiquita Brands, 965 F.3d at 1247. As an initial matter, the State assumes

that Provider Plaintiffs intend to, and will, follow the law, even if they disagree with

it. And the very purpose of Plaintiffs’ motion for a preliminary injunction is to have

the Court determine whether the Plaintiffs will need to follow the law or not. But

challenging the law’s application is not the same as intending to defy it, no matter

the Court’s ruling. To conflate the two would provide a basis for anonymity in any

pre-enforcement legal challenge. Moreover, even if Provider Plaintiffs’ real names

did somehow “compel[]” them to admit criminal intent, In re Chiquita Brands, 965

F.3d at 1247, Plaintiffs cite no cases where a court has declared this factor



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dispositive. And insofar as Provider Plaintiffs’ argument reduces to the claim that

pseudonymity will allow them to more easily violate Alabama’s Criminal Code,8

that concern is, of course, illegitimate on its face.

       Finally, we know this is not an “exceptional” case because another set of pro-

viders filed a nearly identical suit roughly two weeks ago, and in that earlier case,

neither plaintiff Morissa Ladinsky, M.D., nor plaintiff Hussein D. Abdul-Latif,

M.D., sought to proceed pseudonymously. See Complaint, Ladinsky v. Ivey, No.

2:22-cv-447 (N.D. Ala. 2022 filed April 8, 2022), ECF 1. Moreover, while Dr. La-

dinsky is no longer a plaintiff in that case or any other, she has submitted a declara-

tion in support of the Plaintiffs’ motion for a preliminary injunction in this case. See

Doc. 8-2. Finally, both Dr. Moe and Dr. Ladinsky work in the University of Alabama

at Birmingham medical system. See, e.g., Doc. 8-2 ¶¶5-6; Doc. 8-9 ¶4. Thus, the

Provider Plaintiffs’ case is not exceptional and they, like Drs. Ladinsky and Abdul-

Latif before them, should proceed publicly with their suit.

       In sum, all three SMU factors weigh against pseudonymity. Though these are

the only factors Provider Plaintiffs have argued in support of their motion, supra n.7,

they provide no facts to support their limited argument even on its own terms. Ra-

ther, attached to their preliminary injunction motion is a declaration from Dr.



8
 See DE8-9:6 (Dr. Moe stating she fears “[she] will be subject to criminal prosecution” because
she “cannot imagine” complying with the Vulnerable Child Compassion and Protection Act).


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Ladinsky, whose willingness to sue in her own name undercuts the Provider Plain-

tiffs’ purported need for pseudonymity. Provider Plaintiffs have thus failed to offer

evidence sufficient to “outweigh the presumption of openness in court.” Francis,

631 F.3d at 1314. Because “[a] plaintiff should be permitted to proceed anonymously

only in those exceptional cases involving matters of a highly sensitive and personal

nature, real danger of physical harm, or where the injury litigated against would be

incurred as a result of the disclosure of the plaintiff’s identity” and because Provider

Plaintiffs have offered no evidence showing those conditions obtain here, their re-

quest falls far short of “overcom[ing] the presumption of openness in court proceed-

ings.” Frank, 951 F.2d at 324.

II.    Defendants Do Not Oppose Children or Parent Plaintiffs Proceeding
       Pseudonymously, Provided That Their Identities May Be Disclosed
       Pursuant to a Protective Order If Needed.

       A “factor [courts] find especially persuasive is the fact that plaintiffs are chil-

dren.” Stegall, 631 F.3d at 186. Indeed, the Federal Rules of Civil Procedure provide

that when a filing includes the name of a minor, the filing should list only the minor’s

initials. FED. R. CIV. P. 5.2. Defendants thus do not oppose Children or Parent Plain-

tiffs proceeding pseudonymously, provided that these Plaintiffs provide identifying

information subject to a protective order if their identities become relevant to this

litigation. See, e.g., Doe v. Strange, No. 2:15-CV-606-WKW, 2016 WL 1168487, at

*2 (M.D. Ala. Mar. 24, 2016) (allowing plaintiffs to proceed pseudonymously, in



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part, because “Plaintiffs represent[ed] that they are willing to disclose their names

to Defendants so long as documents containing this information are filed under

seal”); Doe v. Hobson, 300 F.R.D. 576, 578 (M.D. Ala. 2014) (granting plaintiffs’

motion to proceed pseudonymously “to the extent that Plaintiffs may withhold their

true identities from the public,” but denying the motion “to the extent that Plaintiffs

seek to withhold their identities from Defendants”); cf. Francis, 631 F.3d at 1316

(“Defendants have the right to know who their accusers are, as they may be subject

to ... fundamental unfairness if they do not.”).

                                  CONCLUSION

      For the foregoing reasons, this Court should deny Plaintiffs’ Motion for Leave

to Proceed Pseudonymously as to the Provider Plaintiffs. Defendants do not oppose

the Children or Parent Plaintiffs proceeding pseudonymously so long as their iden-

tities may be disclosed pursuant to a protective order if needed.




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                                 Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on April 27, 2022, which will serve all counsel of record.

                                      s/ Edmund G. LaCour Jr.
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